                        Case 1:21-cv-01144-LY Document 3 Filed 02/15/22 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         Western District of Texas


                       Jessica Gardner                                )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No. 1:21-cv-01144 -LY
                                                                      )
               ROASTEDBYJOE LLC d/b/a                                 )
                  Third Coast Coffee                                  )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Roastedbyjoe LLC
                                           Registered Agent: Joseph R. Lozano
                                           4402 S. Congress Ave., Ste. 109,
                                           Austin, Texas 78745




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Anna Bocchini
                                           Equal Justice Center
                                           314 E Highland Mall Blvd, Suite 401
                                           Austin, TX 78752
                                           abocchini@equaljusticecenter.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT

           February 15, 2022
Date:
                                                                                          Signature of Clerk or Deputy Clerk
Case 1:21-cv-01144-LY Document 3 Filed 02/15/22 Page 2 of 2
